To: Steps PrgAdmin Page 1 of 2 9017-01-20 16:17:50 (GMT) 18882281751 From: Jeannie Quin

FAX COVER SHEET

TO Steps PrgAdmin

COMPANY Burlington

FAXNUMBER —_—_ 16095893595

FROM Jeannie Quin

DATE 2017-01-20 16:17:25 GMT

RE Stepsopt-out (Jeannie Quinteros514719)
COVER MESSAGE

Fo whom it may concern,

Please find enclosed my opt-out form for the step program. if you have any questions OF
need additional information, please feel free to contact me at the number listed below.

Jeannie Quinteros,
SM - Falls Church 0837

3054096254

WWW.METROFAX.COM

 
To: Steps Prg Admin Page 2of2 9017-01-20 16:17:50 (GMT) 18882281751 From: Jeannie Quin

 

2S PROGRAM OPT-OUT FORM

BURLINGTON PARTICIPATES IN A MUTUAL AGREEMENT TO ARBITRATE ASSOCIATE RELATIONS |

CLAIMS. IF YOU DO NOT WANT TO PARTICIPATE IN STEP 3: ARBITRATION, PLEASE COMPLETE
THIS DOCUMENT AND MAIL TO THE STEPS PROGRAM ADMINISTRATOR, POSTMARKED 0

LATER THAN 30 DAYS FROM YOUR DATE OF HIRE:

Burlington Stores Inc.

1830 Route 130 North

Burlington, NJ 08016

Attn: STEPS Program Administrator

AUTHORIZATION:
By signing below, I acknowledge | have received a copy of the Burlington Stores, Inc.’s Early Dispute

Resolution Program Rules & Procedures and am declining t e benefits of arbitration.

| understand I will receive a letter confirming receipt of my Opt-Out Form and if! do not receive
this letter within 14 days of mailing this form, it is my responsibility to call the STEPS Program
Administrator toll-free at 1-844-500-STEP (7837).

 

 

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Important Note: We encourage you to make a copy of this form for your records.

 

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STEPS TO EFFECTIVE PROBLEM SO

STEPS PROGRAM OPT-OUT FORM

 

 

BURLINGTON PARTICIPATES IN A MUTUAL AGREEMENT TO ARBIT

CLAIMS. IF YOU DO NOT WANT TO PARTICIPATE IN STEP 3: ARBITRATION, PLEASE COMPLETE
THIS DOCUMENT AND MAIL TO THE STEPS PROGRAM ADMINISTRATOR, POSTMARKED NO

LATER THAN 30 DAYS FROM YOUR DATE OF HIRE:

Burlington Stores Inc.
1830 Route 130 North

Burlington, NJ 08016
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Administrator toll-free at 1-844-500-STEP (7837).

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Associate ID: 2 | 4 /

 

Store Number:

Important Note: We encourage you to make a copy of this form for your records.

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